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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                           Case No. 16-22334-Civ-COOKE/WHITE
                                   (12-20115-Cr-COOKE)

 DONNA SHUNGIE CURINGTON,

        Movant,

 vs.

 UNITED STATES OF AMERICA,

       Respondent.
 _______________________________/
       ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION
            AND TRANSFERRING CASE TO THE ELEVENTH CIRCUIT
        THIS MATTER was referred to the Honorable Patrick A. White, United States
 Magistrate Judge, pursuant to 28 U.S.C. § 636(b)(1)(B), Rules 8 and 10 of the Rules Governing
 Section 2255 Cases in the United States District Courts, and Administrative Order 2003-19 of
 this Court, for a ruling on all pre-trial, non-dispositive matters and for a Report and
 Recommendation on any dispositive matters (ECF No. 3). On June 23, 2016, Judge White
 issued a Report (ECF No. 5) recommending that (i) this case be directly transferred to the U.S.
 Court of Appeals for the Eleventh Circuit, pursuant to 28 U.S.C. § 1631, for permission and
 certification for Movant to file a successive Section 2255 petition, (ii) a certificate of
 appealability be denied, (iii) the Clerk provide Movant with the appropriate forms to file a
 successive motion to the Eleventh Circuit, and (iv) the case be administratively closed.
        Movant did not file objections to the Report of Magistrate Judge, and the time to do so
 has passed. I have considered Judge White’s Report, and have made a de novo review of the
 record. I find Judge White’s Report clear, cogent, and compelling.
        It is ORDERED and ADJUDGED that Judge White’s Report (ECF No. 5) is
 AFFIRMED and ADOPTED. Accordingly, this case is TRANSFERRED to the Eleventh
 Circuit pursuant to 28 U.S.C. § 1631. A certificate of appealability is DENIED. The Clerk shall
 provide Movant with the forms to file a successive Section 2255 petition to the Eleventh
 Circuit and instruct Movant to make a prima facie showing of entitlement to relief under
 Johnson v. United States, __ U.S. __, 135 S. Ct 2551 (2015). This case is administratively
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 CLOSED. Movant shall file notice with this Court within thirty (30) days of receipt of the
 Eleventh Circuit’s decision on his ability to file a successive Section 2255 petition.
        DONE and ORDERED in chambers, at Miami, Florida, this 12th day of July 2016.




 Copies furnished to:
 Patrick A. White, U.S. Magistrate Judge

 Counsel of record

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